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                     EXHIBIT 1
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                           AMENDED CERTIFICATE OF SERVICE

         I hereby certify that on December 15, 2017, I electronically filed Plaintiffs’ Motion to

  Strike Defendant Loyal White Knights of the Ku Klux Klan’s Answer (“Motion”) (Docket Entry

  155) with the Clerk of the Court using the CM/ECF system, which sent notice of the electronic

  filing to all ECF participants. After inadvertently failing to serve the Motion on the non-ECF

  participants, I hereby certify, on December 20, 2017, that I have served the following non-ECF

  participants with the Motion via U.S. mail, First Class and postage prepaid:



  Loyal White Knights of the Ku Klux Klan
  a/k/a Loyal White Knights Church of the Invisible Empire, Inc.
  c/o Chris and Amanda Barker
  P.O. Box 54
  Pelham, NC 27311

  Richard Spencer
  1001-A King Street
  Alexandria, VA 22314

  Michael Peinovich (pro se)
  a/k/a Michael “Enoch” Peinovich
  PO Box 1069
  Hopewell Junction, NY 12533

  Moonbase Holdings, LLC
  c/o Andrew Anglin
  6827 N. High Street, Suite 121
  Worthington, OH 43085

  Andrew Anglin
  6827 N. High Street, Suite 121
  Worthington, OH 43085
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  East Coast Knights of the Ku Klux Klan
  a/k/a East Coast Knights of the True Invisible Empire
  26 South Pine St.
  Red Lion, PA 17356

  Fraternal Order of the Alt-Knights (c/o Proud Boys)
  c/o LegalCorp Solutions, LLC
  11 Broadway, Suite 615
  New York, NY 10004

  Augustus Sol Invictus
  206 N. Mills Avenue
  Orlando, FL 32801


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
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                                                        Counsel for Plaintiffs




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